Case 23-30097-KKS Doc/7 Filed 02/16/23 Page lof5
FLNB LF 13-21 (Rev. 12/17)

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA

PENSACOLA DIVISION
In re: Ryan Eugene Moore Case No.
Debtor! Chapter 13

 

O Check if this is an AMENDED
PLAN [First, Second... |

 

 

 

CHAPTER 13 PLAN
PART 1: NOTICES

To Creditors: Your rights may be affected by this plan.

You should read this plan and other documents sent to you carefully and discuss them with your attorney.
If you do not have an attorney, you may wish to consult one, [f you oppose the plan’s treatment of your
claim or any provision of this plan, you or your attorney must file an objection to confirmation prior to
the CH 13 plan date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
Court. The Bankruptcy Court may confirm this plan without further notice if no objection to
confirmation is filed. Creditors who are not individuals (i.e: corporations, LLC’s, efc.) must have an
attorney in order to have their objections considered by the Court. Creditors must file a timely proof
of claim in order to be paid under any plan.

To debtor: You must check one box on each line to state if the plan includes the following items. If an
item is checked as “Not included,” or if both boxes are checked, the provision will be ineffective if set
out later in the plan.

 

 

 

1.1 | A limit on the amount of a secured claim, set out in § 3.2, which may TA Included
result in a partial payment or no payment at all to the secured creditor. l Not included
1.2 | Debtor intends to avoid a judicial lien or security interest; see § 3.4. Included
[} Not included
1.3 | Nonstandard provisions, set out in Part 8. U Included
Mi Not included

 

 

 

 

 

PART 2: PLAN PAYMENTS AND PLAN LENGTH

2.1 Payments to the Trustee: The future earnings or other future income of the Debtor is submitted to
the supervision and control of the trustee. The debtor (or debtor’s employer) shall pay to the Chapter
13 Trustee the sum of $150.00 WEEKLY, which approximates a payment of $650.00 per month, for
60 months.
Total base of plan payments: $39,000.00.
Payments shall be mailed to the Chapter 13 Trustee at: Leigh A. Duncan, Chapter 13 Trustee,
Lock Box 2238, Memphis, TN 38101-2238.
Plan Length: The term of the plan is 60 months.

 

 

|All references to “debtor” shail include both debtors in a joint case.
Case 23-30097-KKS Doc/7 Filed 02/16/23 Page 2of5

2.2 Tax Refunds: Debtor will supply the trustee with a copy of each income tax return filed during the
plan term within 14 days of filing the return and will turn over to the trustee all income tax refunds
received during the plan term, unless otherwise provided in Part 8.

2.3 Additional Payments (check one):
M None

PART 3: TREATMENT OF SECURED CLAIMS

Unless otherwise ordered by the Court, the claim amount(s), including the value of a secured claim, stated
on a timely filed proof of claim will control over any contrary amount listed below. In the absence of a
contrary timely filed proof of claim, the amounts stated below are controiling.

3,1 Secured Debts Which Will Extend Beyond the Length of the Plan
{4 None

3.2 Secured Debts Which Wiil Not Extend Beyond the Length of the Plan

(a) Secured Claims Subject to Valuation Under 11 U.S.C. § 506.
VJ None

(b) Secured Claims Not Subject to Valuation Under 11 U.S.C. § 306.
(| None
W Each of the following secured claims shall be paid through the plan as set forth below
until the amount of the claim has been paid in full.

Name Amount of Interest Rate

Secured Claim (if specified)
HEARTLAND CAPITAL INVESTMENTS $4,000.00 5.25%
(SHED)

(c} Determination of Secured Status and Strip Lien (11 U.S.C § 506).
{4 None

3.3 Prepetition Defaults
1 None

3.4 Motions to Avoid Lien
O None
M The debtor intends to avoid a judicial lien or nonpossessory, nonpurchase-money security interest
held by each of the creditors listed below. (This provision requires that a separate motion be

 

filed by the debtor.)
Amount
Name of Claim Nature of Lien to be Avoided
SURF CONSULTANTS, INC. $20,099.00 JUDICIAL

Page 2
Case 23-30097-KKS Doc/7 Filed 02/16/23 Page 3o0f5

3.5 Direct Payments to Creditors
tJ] None
W The debtor shall make regular payments directly to the following creditors:

 

Name Amount Monthly Interest Rate
of Claim Payment (if specified)

PENNYMAC LOAN SERVICES, LLC $145,853.00 CONTRACT CONTRACT
(HOME & LOT - 11100 Dartmouth Place, Panama City, FL) AMOUNT RATE
BAY CREDIT UNION $9,259.00 CONTRACT CONTRACT
(2014 FORD EXPLORER) AMOUNT RATE
MARINER FINANCE, LLC $1,843.00 CONTRACT CONTRACT
(2004 NISSAN TITAN) AMOUNT RATE

Upon entry of the Order Confirming Plan, the automatic stay shall be terminated as to the in
rem rights of the creditors whose secured claims are being paid direct by the debtor in § 3.5,
above.

3.6 Property to be Surrendered
YW None

PART 4: TREATMENT OF TRUSTEE’S FEES, ATTORNEYS’ FEES AND OTHER PRIORITY
CLAIMS, INCLUDING DOMESTIC SUPPORT OBLIGATIONS

Trustee’s fees and all allowed priority claims, including domestic support obligations other than those
treated in § 4.4(c), will be paid in full without post-petition interest.

4.1 Trustee’s Fee: Trustee’s fees are governed by statute and will be paid through the plan. Trustee’s
fees may change during the course of the case.

4,2 Attorney’s Fee (unpaid portion): $4,000.00 (fees} $600.00 (costs);
Pursuant to 11 U.S.C. § 521(£)(4)\(B) and Standing Order(s) of this Court, the debtor shall file all
required annual statements. Debtor’s attorney may seek additional fees for filing required annual
statements; if the plan is modified due to an increase in income shown on an annual statement, the
debtor’s attorney may seek additional fees for the plan modification. No advanced notice or
opportunity to object to these fee applications will be given.

 

4.3 Filing Fee (unpaid portion): Any unpaid portion of the filing fee will be paid in accordance with the
order granting the debtor’s application to pay the filing fee in installments.

4.4 Domestic Support Obligations
4 Debtor has no Domestic Support Obligations

4.5 Other Priority Claims
4 None

Page 3
Case 23-30097-KKS Doc/7 Filed 02/16/23 Page 4of5

PART 5: TREATMENT OF NONPRIORITY UNSECURED CLAIMS

5.1 General Nonpriority Unsecured Claims
Allowed nonpriority unsecured claims that are not separately classified in Part 5.2 will be paid, pro
rata. If more than one option is checked, the option providing the largest payment wiil be effective.
Check all that apply.

M4 A total of $25,000.00.
O % of the total amount of these claims, an estimated payment of $

M Funds remaining after disbursements have been made to all other creditors provided for in this
plan. Allowed nonpriority unsecured claims shall be paid interest to the extent available, not to
exceed 6%, unless otherwise provided in Part 8.

5.2 Separately Classified Nonpriority Unsecured Claims
None. if “None” is checked, the rest of Part 5.2 need not be completed or reproduced.

PART 6: EXECUTORY CONTRACTS AND UNEXPIRED LEASES

The executory contracts and unexpired leases listed below are assumed. All other executory

contracts and unexpired leases are rejected. Check one.
4 None. if “None” is checked, the rest of Part 6 need not be completed or reproduced.

PART 7: STANDARD PLAN PROVISIONS

7.1 Title to the debtor’s property shall re-vest in debtor on confirmation of a plan or dismissal of the case,
unless otherwise provided in Part 8, provided that proceeds from any potential or pending cause of
action or other asset not yet liquidated, are property of the Estate and must be paid to the Chapter 13
Trustee pending further order of the Court.

7.2 Except as provided above, allowed secured claim holders shall retain liens until liens are released or
upon completion of all payments under this Plan.

7.3 Secured creditors and lessors to be paid directly by the debtor and/or co-debtors may continue to mail
to debtor the customary monthly notices or coupons notwithstanding the automatic stay.

PART 8: NONSTANDARD PLAN PROVISIONS

{4 None

Page 4
Case 23-30097-KKS Doc/7 Filed 02/16/23 Page5of5

PART 9: SIGNATURES OF DEBTOR AND DEBTOR’S ATTORNEY

If the debtor does not have an attorney, the debtor must sign below; otherwise, the debtor’s signature is
optional. The attorney for the debtor, if any, must sign below.

Sa

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Signature of Debtor 1 Signature of Debtor 2

_ Date: e/\s [ox

Signature of Attorhey forDebtor

 

 

Martin S. Lewis/Steven D. Jurnovoy
Bar No: 0100587/938221

1100 North Palafox Street
Pensacola, FL 32501

Telephone: (850) 432-9110

Email: landj@lewisandjurnovoy.com

By filing this document, the debtor, if not represented by an attorney, or the attorney for the debtor, certifies
that the wording and order of the provisions in this Chapter 13 Plan are identical to those contained in the
Official Form adopted by this Court effective on the date of signing, other than any nonstandard provisions
included in Part 8.[www.finb.uscourts. gov/sites/default/files/forms/If13_21.pdf].

Page 5
